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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
UNITED STATES OF AMERICA,

                                                                          19-cr-467 (PKC)

                -against-
                                                                            ORDER
PROSPERO GONZALEZ,

                                  Defendant.
------------------------------------------------------------x

CASTEL, U.S.D.J.

                A conference in this matter will proceed on October 28, 2020 at 12:00 p.m. in

Courtroom 11D. To facilitate access to the Courthouse on the day of the conference, follow the

instructions attached to this Order. Remote public access to this proceeding is available through

the following call-in information:

                Dial-in:         (888) 363-4749

                Access Code: 3667981



                SO ORDERED.

                                                          ________________________________
                                                                    P. Kevin Castel
                                                              United States District Judge
Dated: New York, New York
       October 21, 2020
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All members of the public, including attorneys, appearing at a Southern District of New York
courthouse must complete a questionnaire and have their temperature taken before being allowed
entry into that courthouse.
On the day you are due to arrive at the courthouse, click on the following weblink, or scan the
following QR code with a mobile device camera to begin the enrollment process. Follow the
instructions and fill out the questionnaire. If your answers meet the requirements for entry, you
will be sent a QR code to be used at the SDNY entry device at the courthouse entrance.
                               https://app.certify.me/SDNYPublic




Note: If you do not have a mobile phone or mobile phone number, you must complete the
questionnaire and temperature screening at an entry device at the courthouse.
